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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

AINSWORTH E. MORRIS

PLAINTIFF Pro Se

DEFENDANTS

1 The NEW YORK GAMING COMMISSION
One Broadway Center
Schenectady, New York 12305

2 JAMES HASS
C/O One Broadway Center
Schenectady, New York 12305

3 ISABELLA POSS
Batavia Downs

8315 Park Road

Batavia New York 14020

4 EDMUND C. BURNS Esq
GENERAL COUNSEL

New York State Gaming Commission
One Broadway Center

Schenectady, New York 123 05

5 Miss Kelly Carver

C/O General Counsel

New York State Gaming Commission
One Broadway Center

Schenectady, New York 12305

 

THIS is NOVEL CASE
CASE: NO 1 8
COMPLAINT

ny YR@S

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6 Miss Michelle Barbetta
C/O Genera Counsel
New York State Gaming Commission

One Broadway Center
Schenectady, New York 12305

7 CAPITAL OFF TRACK BETTING
510 Smith Street
Schenectady, New York 12305

8 Miss, Sue Ginter

C/O General Counsel

New York State Gaming Commission
One Broadway Center

Schenectady, New York 12305 Racing

______________________________________

3.

THE NEW YORK STATE GAMING COMMISSION, successor in interest to
The NEW YORK State Racing and Wagering Board, James Hass, in his official
and individual capacities, and as operations manager in Western Regional off
Track Betting Corporation, Isabella Poss, in her official and individual capacities
Manager Western off Track Betting Telephone Betting and BataviaBets, Kelly
Carver, in her official and individual capacities, and as Legal Assistant Access
Office. Sue Ginter, in her official and individual capacities and as Customer
Service Manager,Mitchell Barbetta, in her official and individual capacities and as
Access Officer. CapitalOtb Bet. Stronach Entertainment Group Webpayrnent.
Americatab. Xpressbet. And Twinspires eBet Technologies, is in one of the same

interchangeable and contain the same meaning with BataviaBets, Western
Regional Off Track Betting is approved by N.Y.S. Gaming Commission.

Plaintift’s as and for his COMPLAINT, upon information and belief alleges the
following: Which is subject to Court’s Ruling under 5 U.S.C. § 552 (a) (3) ET
seq, et seq, et seq

4. Preliminary Statement

1. This lawsuit is grounded in Prima Facie, at first sight; on first appearance
but subject to further evidence or information that entail Cn`minal lntent and
fraud, Sham Races, Concealment of evidence, The inveiglement of Bets at
restricted Site, Wire f`raud, Mail f`raud, Denial of Docurnents, The initial issue is
whether Plaintiff’s has a liberty interest, protected by the Due Process Clause.
This is an action remedy violations of the Rights of Plaintist under NYS of
statutes in conjunction with Federal Laws and Statutes of the Constitution that are
basis of the Claims, if applicable This is Civil Rights Action and with criminal

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application of intent. In the initial stages false advertising is misleading;
Additional civil penalty for consumer frauds against elderly person.

2. This is a civil action for monetary damages in the amount of Dollars
relief, and further specified below, for violations of Plaintiff’s due process rights,
pursuant to 42 U.S,C. § 1983 et sic ulterius (“Section 1983”) and in 14th
Amendment one in the U..S. Constitution one in the U.S. Constitution of 5th
Amendment; and for prima facie base upon, statute of triple damages under Rico
Act, in Conjunction with name defendants, 42 U.S. CODE Section 1985.
Intentional Infliction of Emotional Distress; (“ Plaintiffs is a Senior Citizens and
Disabled”) Whereas Plaintist ask for information and evidence and was
improprrly denied document illegally as a result Plaintiff’ s file this lawsuit, Which
is correlative to Section 5 USC 552 and the Due Process Clause in it’s application
to federal statute, in furtherance of the allegations; Plaintiff’ s will assert the
following Statutes, Codes, Acts and of the Constitution as applicable. One such is
the RICO ACT assimilated or morphed by reference, 18 U.S. Code § 1961 and
1962, 42 U.S. Code §2000e by Definitions: (a) The term “Person” include one or
more individuals; (b) The term “Employer” means a person engaged in an
industry affecting Commerce Who has fifteen or more employees (g) The term
“Commerce” means trade, traffic, commerce, or communication among the
several States, or between a State and any place outside thereof, or within the
District of Columbia, Oi) The term “industry affecting commerce” means ANY
activity, business , or industry in COMMERCE. (i) The term “ State” includes a
State of the United States, the District of Columbia, The Plaintiff’s is an License
Better to do “Business” with Batavia Bets , there after Plaintiff’ s account was
“Cancelled” by Miss. Poss ,without any apparent reason, which triggers Due
process Clause, Plaintiff’ s “ Proprietary interest” means an economic and non-
regulatory interest at risk in the financial success of the Gaming facility; that
could be adversely affected by Labor-Management conflict under the Commerce
Clause, Thereafter, Plaintist took his business Capital Bets To the Honorable
Jurist, Without being presumptuous, is the Racing Industry Commerce? Special
Note: Whichever way you Honorable Gentlemen or Ladies may Rule is not Fatal
to Plaintiff’ s case; the only difference is in the statute for damages, under New
Y_ork Gaming Laws, and Federal Laws.

2.

Title 42§ 1985, 18 U.S’C. 242, 28 U.S. Code 1343 Title 15 Commerce and
Trade, Interstate Horse Racing; § 53 83 which signify in addition; more
implication and Title 31, U.S.C. Internet Gambling ; One of such offenses is the
enterprise corruption violation of federal law consists of a violation of 18 U.S.C.
371, § 7201where the object of the conspiracy is to attempt in any manner to
evade or defeat any federal income tax or the payment thereof , or a violation of
26 U.S.C. and NYS tax electronically Was transferred in same manner the fraud
was committed by wired fraud made by interpolation act rues did obtain and
attempt to obtain (tangible or intangible property) the property of (Plaintiff’ s a
victim with connection to commerce) defined in Title 18 U.S.C, § 1951; and the
equal protection of laws, it would seems to Plaintiff‘s; that Title 15 U.S.C.of the

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Commerce Clause give more Protection of Horses than Hurnan Being see, § 1821
(1) (2) (3) (A) (B) (D) (4) even gambling device on Horses falls within the
boundaries of any State or possession of United States.

And Title 4 § 112 est. est. Compacts between States for cooperation in prevention
of crime; (consent of Congress), thus Capital OTB and BataviaDownsBET the
District of Columbia are entwine as an associate with knowledge of their deed.
or Actus reus.

3. Jurisdiction of the United States District Court and Venue

4.

Claims arising from the U.S. Constitution or federal statutes Claims in which all
but three of the opposing parties live in different states and or headquarters’; in
other states the amount in controversy exceeds $75.000 seventy five thousand
Dollars (diversity jurisdiction). 28 U.S.C.A.§ 1331. This stature provides that
federal district courts have “original jurisdiction” of all civil actions arising under

the constitution, laws, or treaties of the United States.
5. Venue is proper is this action pursuant to 28 U.S.C. § 139 (e) in that at

least the Plaintiff resides in the Western District of New York. Particular Due
Process, that this Court’s would see fit to exercised Ancillary Jurisdiction
authority over all persons and things within its territory; along with the concept of
Pendent Jurisdiction in the Supplemental Jurisdiction Statute 28 U.S.C.A. § 1367
and concurrently.

PARTIES

Plaintiff s Ainsworth E. Morris, Pro Se
450 Jefferson Avenue, Apt 331
Buffalo N.Y. 14204

DEFENDANT
6. Miss. Kelly Carver, Plaintiffs resent your sarcasm has no place in legal
jargon or writing, you broke the law, acting under color of official state law, and
violated Plaintiffs constitutional Rights and civil Rights which tantamount to Due
Process of law; for the denial iof documents which is contrary §84, 85, 86, 87 and
89 of the public officer law, Article 6. Special Note: Plaintiff’s therefore invoke §
89 (f) and (g) as it deals with “EXCEPTION” analogous is that of property; which
is a fundamental in question; is Plaintiff’s right to conduct business free from
threats and invective and innuendoes to make decisions free from outside
pressure wrongfully imposed. Thus 18 U.S.C. § 1951 (b) (2) .and 5 U.S.C. 552(a)
(3) and 5 C.F.R. §294. 108 and State’s statute and laws which mirrors Federal
law. One of the offenses consists of a violation of 18 U.S.C. . . .

DEFENDANTS
6 Miss. Sue Ginter, Miss Michelle Barbetta and Miss.Isabella Poss: The
named defendants collectively or individually in accord did an unlawful act;

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misappropriation by the offenders to his/her own use on purpose to enrich
themselves of monies, taking from Plaintiff’ s Personal account, Plaintiffs does
not have knowledge whom the embezzler is; the result taking of personal property
and fraudulent conversion has been made. Whiling at length; Defendant Mss. Sue
Ginter did send to Plaintiff’s a partial refund of $77.00 Dollars for the overdraft
fees which the account generated, after the aftermath, which was more fees for
the Bank, thereafter Plaintiffs threaten to Sue the Bank and Capital Off-Track
Betting Corporation,The Gaming Commission, the Bank did not take too kindly
to such a threat. The elements of their Actions is Wire Fraud under 18
U.S.C.§1343 directly parallel those of the mail fraud statute, but require the use of
an interstate telephone call or electronic communication made in furtherance of
the Scheme, Wire fraud is the use an electric or electronic communications
facility to intentionally transmit a false and/or deceptive message in furtherance of
a fraudulent activity, is identical to mail fraud statute except that it speaks of
communications transmitted by wire. The Codes, Statutes, and Provisions of laws
as quoted, are Cumulative and Supplements, to case at bar and the dilatory tactics
employ by defendants is also cumulative of Mr. J ames Hass sent Dated 1/13/2018
give rise to Plaintiff s own research and investigation

7. The four essential elements of the crime of wire fraud are:

8. (1) that the defendant voluntarily and intentionally devised or participated
in a scheme to defraud another out of money

9. (2)that the defendant did so with the intent to defraud

10. (3)that it was reasonably foreseeable that interstate wire communication
would be used; and
11. (4) that interstate wire communication were in fact used

12. Upon further review of my account I found widespread fraud in my
betting handled, I failed to see how nobody see nothing hear nothing

13. Thus, Plaintiff’ s Invoked Title 42 U.S.C.A. §1983. Civil action for
deprivation of rights under the 14 Amendment and 18 U.S. Code § 242
Deprivation of rights under color of law. The only Difference is in words 42
U.S.C.A. 1983 “Every Person” and 18 U.S.C.242 “Whoever, under color of any
law” which is analogous.

14. Every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State or Territory or the District of Columbia, subj ects,
or causes to be subj ected, any citizen of the United States or other person within
the jurisdiction thereof to the Deprivation of any Rights, privileges, or immunities
secured by the Constitution and laws, shall be liable to the Party injured in an
Action at law, suit in equity or other proper proceeding for Redress.

15. Miss. lsabella Poss.: Whoever, without authority, alters or attempts to
forge or uses such exhibit with intent unlawfully

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Possesses or knowingly uses any such altered changed forged document with
intent to manipulate the Racing Result, is guilty of a Felony. Under 28 U.S. Code
§ 1343, done in furtherance of any Conspiracy mentioned in § 1985 of Title 42
which they had knowledge were about to occur and having power to prevent or
aid in preventing the commission of same, neglects or refuses so to do, if such
wrongful act, be committed, shall be liable to the party injured, or his legal
representatives, for all damages caused by such wrongful act § 1986 Action for to
Prevent.18 public laws

18 U.S. Code § 2071 Concealment, removal or mutilation of evidence under

1. 15 U.S. Code § 78r- Liability for Misleading Statements (a) Persons
liable; person entitled to recover. For Intrinsic Fraud is an intentionally false
representation that Plaintiff s had won monies on his account and same true of
flip side of the account, upon Plaintiff’ s own initiative he took a closer look at his
Race Track, activities and discover they were selling Sham Races. Mr. J ames
Hass, manager in western regional off track betting corporation were aware of
Plaintiff’ s complain, which he informed in confidence that what was happening in
the Racing Industry. Plaintiff s was surprise he did not get back to him. In
furtherance of their Scheme they Surreptitiously hide document from the
Plaintiff" s and “FACT THEY WERE SELLING BETS TO PLAINTIFF’S IN
WASHINGTON DISTRICT OF COLUMBIA, WHICH WAS DONE
UNWITTINGLY BY PLAINTIFF’S to his DETRIMENT. ls grounded in
both Federal law and State law as being illegal and unlawful and by the New
York State Gaming Commission

19 See: Regulation of Lawful Intemet Gambling

One of the offenses consists of violation of 18 U.S.C. 331, Article 1 § 5 where
the object of the conspiracy is to attempt in any manner to evade or defeat any
Federal Income Tax or the payment thereof, to the State are a violation. . Does the
New York Gaming Commission have a fiduciary duty and care in upholding the
laws of the constitution and integrity of the sport conservatively we bet over $1 0.
Billion Dollars per year and employed over 450, 000 is time we get rid fictitious
race President Donald Trump would say Fake Race. They have new name for it’s
called “Compact”; which is undefined.

IN CONCLUSION

IAINSWORTH E. MORRIS Pro Se”
This Lawsuit is grounded in Prima Facie, at first sight; on first appearance but
subject to further evidence or information that entail Criminal lntent et seq.

Respectfully Submitted above Document March, /27/2018

 

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THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

2 Niagara Square
Buffalo, NY 14202

